         Case 1:17-cv-04179-DLC Document 55 Filed 11/13/17 Page 1 of 12




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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND EXCHANGE                                   17-cv-4179-DLC
COMMISSION,

                                       Plaintiff,
                                                                           ECF CASE
       - against -

ALPINE SECURITIES CORPORATION,

                                       Defendant.


                   PLAINTIFF UNITED STATES SECURITIES AND
                EXCHANGE COMMISSION’S MEMORANDUM OF LAW
                     IN SUPPORT OF ITS MOTION TO STRIKE

       Plaintiff United States Securities and Exchange Commission (the “Commission”) submits

this Memorandum of Law in Support of its Motion to Strike (“Motion”). The Motion asks the

Court to Strike the “Sixteenth Defense” and “Nineteenth Defense” asserted by Defendant Alpine

Securities Corporation (“Alpine”) in its Amended Answer (Doc. 48, “Am. Answer”). These two

defenses assert equitable defenses that are invalid as a matter of law and their inclusion in this

action would prejudice the Commission.
           Case 1:17-cv-04179-DLC Document 55 Filed 11/13/17 Page 2 of 12




                                         INTRODUCTION

         The Complaint in this enforcement action concerns the inadequacy of Alpine’s records.

In response to the Complaint, however, Alpine attempts to convert the action into a dispute

weighing Alpine’s records violations against the Commission’s conduct by asserting equitable

affirmative defenses against the Commission. Courts routinely strike equitable defenses asserted

against a government agency protecting the public interest like those asserted by Alpine. This

enforcement action is not the proper vehicle to litigate Alpine’s grievances, even if genuine. 1

Accordingly, these defenses are legally invalid and should be stricken.

         The Commission acknowledges that motions to strike are generally disfavored and,

accordingly, the Commission does not seek an order striking many of Alpine’s other frivolous

defenses, such as lack of personal jurisdiction, improper venue, and “affirmative” defenses that

the Commission cannot prove unnecessary elements like scienter. Am. Answer at 14-16. Unlike

the equitable defenses, the other frivolous defenses do not materially change the scope of

discovery. They will not unduly delay this enforcement action because they can be handled

summarily at a later stage.

         In contrast, courts use Rule 12(f) to strike equitable defenses like the Sixteenth and

Nineteenth Defenses because they would cause unnecessary delay and impermissible discovery

into the Commission’s investigative process and privileged work product and communications.

The Court should strike the Sixteenth and Nineteenth Defenses for the same reasons.




1
    While not relevant to the Motion, the Commission denies Alpine’s allegations.
                                                   2
         Case 1:17-cv-04179-DLC Document 55 Filed 11/13/17 Page 3 of 12




                                           ARGUMENT

       Alpine’s equitable defenses should be stricken if (1) there is no question of fact which

might allow the defenses to succeed, (2) there is no question of law which might allow the

defenses to succeed, and (3) the Commission would be prejudiced by inclusion of the defenses.

SEC v. KPMG LLP, 2003 WL 21976733, at *2 (S.D.N.Y. Aug. 20, 2003). Defenses that are

insufficient as a matter of law should be stricken to eliminate delay and unnecessary expenses

from litigating invalid claims. Id.

I.     ALPINE’S EQUITABLE DEFENSES FAIL AS A MATTER OF LAW.

       Alpine asserts the equitable defenses of estoppel, waiver, and unclean hands in the

Sixteenth and Nineteenth Affirmative Defenses. These equitable defenses are legally invalid

because (1) Alpine fails to allege egregious misconduct causing prejudiced to Alpine that rises to

a constitutional level; and (2) Alpine fails to allege necessary elements of each defense.

       Equitable defenses generally are not available against a government agency attempting to

enforce a congressional mandate in the public interest. SEC v. American Growth Funding II,

LLC, 2016 WL 8314623, at *3-4 (S.D.N.Y. Dec. 30, 2016), report and recommendation

adopted, 2017 WL 728701 (S.D.N.Y. Feb. 22, 2017). To prevail on an equitable affirmative

defense, Alpine must allege that the Commission engaged in outrageous or unconstitutional

activity. Id. at *3-4. Further, to prevail on these defenses, the alleged misconduct must have

occurred during the investigation leading to this action and must have prejudiced Alpine’s ability

to defend the action. SEC v. Elecs. Warehouse, Inc., 689 F. Supp. 53, 73 (D. Conn. 1988), aff'd

sub nom. SEC v. Calvo, 891 F.2d 457 (2d Cir. 1989) (“Conduct which occurs during the

litigation of a lawsuit, rather than during the accrual of the action, cannot form the basis of an


                                                  3
         Case 1:17-cv-04179-DLC Document 55 Filed 11/13/17 Page 4 of 12




equitable defense.”). Claims of prejudice regarding Alpine’s business or relationship with its

customers are “not the kind of ‘prejudice’ which may be pleaded as an equitable defense to a

SEC injunctive action.” Id.

       A.      The Sixteenth Defense: The estoppel and waiver defenses fail as a matter of
               law.

       Stripped of the vague, repetitive, and conclusory allegations, the Sixteenth Defense

alleges that Alpine relied on the Commission’s conduct when designing and implementing its

AML compliance program and did not identify deficiencies in Alpine’s SAR filings during

regulatory examinations. These defenses should be stricken because Alpine fails to allege

prejudice to its ability to defend this case caused by a constitutional violation or the necessary

elements for estoppel and waiver defenses.

       First, Alpine has failed to plead elements of estoppel and waiver. The defense of estoppel

requires proof that the Commission made a misrepresentation of fact to Alpine with reason to

believe Alpine would rely upon it, that Alpine reasonably relied upon the misrepresentation, and

that Alpine was harmed by the reliance. KPMG LLP, 2003 WL 21976733, at *2. Alpine alleges

no misrepresentation and certainly no detrimental act that Alpine took in reliance on a

misrepresentation. This defense fails even if the facts alleged in the Amended Answer were true.

       Waiver requires proof that the Commission intentionally relinquished a known right.

KPMG LLP, 2003 WL 21976733, at *3. There is no allegation that the Commission relinquished

a right connected to this litigation – intentionally or otherwise. This defense fails even if the facts

alleged in the Answer were true.

       Second, Alpine’s claim that the Commission induced the violations alleged in the

Complaint because Alpine allegedly relied upon Commission conduct to create its compliance

                                                  4
         Case 1:17-cv-04179-DLC Document 55 Filed 11/13/17 Page 5 of 12




program fails as a matter of law because it misreads the Complaint. The Commission’s case is

that Alpine did not actually follow its own compliance program, so any reliance that Alpine

placed on Commission conduct to create its compliance program cannot be detrimental reliance

that resulted in this action. Complaint ¶ 19 (“Alpine’s BSA Compliance Program did not

accurately reflect what the firm did in practice.”). In fact, the Complaint alleges that Alpine did

not remedy deficiencies identified by the Commission. The Complaint therefore contains no

alleged violation that was induced or encouraged by the Commission.

       Third, the allegation that the Commission did not identify deficiencies, even if true, 2

cannot be the basis of a constitutional violation supporting equitable defenses. Alpine has a duty

to comply with applicable regulations independent of examinations and investigations and the

Commission must be able to conduct reasonable reviews and investigations without the risk that

its activity would create a bar to the Commission’s pursuit of claims. KPMG LLP, 2003 WL

21976733, at *4 (“In order to fulfill its own obligation to enforce the securities laws, the SEC

must be able to conduct reasonable investigations without the risk that oral communications such

as those alleged here will create a bar to the agency’s pursuit of claims.”).

       Finally, Alpine’s allegation that the Commission’s conduct injured Alpine’s relationship

with customers is not sufficient to support equitable defenses because it has nothing to do with

Alpine’s ability to defend this action. Elecs. Warehouse, Inc., 689 F. Supp. at 73 (Alleged loss of

good will is “not the kind of ‘prejudice’ which may be pleaded as an equitable defense to a SEC

injunctive action.”). Alpine’s conclusory allegation that the Commission’s conduct prejudiced


2
 Alpine was told that its filings were deficient. Complaint ¶ 27 (“Despite these repeated
warnings, Alpine has failed to adequately remedy the defects in the implementation of its BSA
Compliance Program.”).
                                                  5
         Case 1:17-cv-04179-DLC Document 55 Filed 11/13/17 Page 6 of 12




Alpine’s ability to defend itself is merely an invocation of the relevant pleading standard. Alpine

points to no evidence or argument that the Commission’s alleged misconduct made more

difficult to advance in its defense because of the Commission’s alleged misconduct.

       Accordingly, Alpine has failed to allege facts supporting estoppel or waiver defenses

against the Commission in this enforcement action.

       B.      The Nineteenth Defense: The unclean hands defense fails as a matter of law.

       The Nineteenth Defense alleges that the Commission investigated Alpine’s BSA

compliance program in a parallel investigation with the Department of Justice and that during

this action the Commission made allegedly false allegations, seeks excessive penalties, and filed

this case in an improper venue. All other allegations in the Nineteenth Defense consist of

inferences and argument often based on one or more layers of Alpine’s “information and belief.”

Am. Answer at 21-22. The defense should be stricken because the factual allegations do not

show prejudice to Alpine’s ability to defend this case caused by a constitutional violation or the

necessary elements for unclean hands.

       First, Alpine failed to allege facts to support a selective enforcement claim. A claim of

selective application of Section 17(a) requires a showing that (1) Alpine “compared with others

similarly situated, was selectively treated, and (2) the selective treatment was motivated by an

intention to discriminate on the basis of impermissible considerations, such as race or religion, to

punish or inhibit the exercise of constitutional rights, or by a malicious or bad faith intent to

injure the person.” FSK Drug Corp. v. Perales, 960 F.2d 6, 10 (2d Cir. 1992). Alpine fails on

both elements. There is no description or identification of firms Alpine alleges are similarly




                                                  6
         Case 1:17-cv-04179-DLC Document 55 Filed 11/13/17 Page 7 of 12




situated but treated differently. 3 Further, Alpine does not—and could not—allege that selective

treatment was motivated by race, religion, or protected speech and therefore must allege a

malicious or bad faith intent to injure. Id. Courts “rarely have found a constitutional violation”

under this standard. Bizzarro v. Miranda, 394 F.3d 82, 86 (2d Cir. 2005). “If the motivation to

punish is to secure compliance with agency objectives, then by definition the motivation is not

spite, or malice, or a desire to ‘get’ [someone] for reasons wholly unrelated to any legitimate

state objective.” Id. at 87. Setting aside Alpine’s conclusory allegations, the Nineteenth Defense

only alleges that the Commission pursued an investigation and this enforcement action for

legitimate purposes in parallel with criminal authorities. There is no fact alleged showing that the

Commission was motivated by any purpose other than to secure compliance with agency

objections. See id. And Alpine alleges no specific act by the Commission during its investigation

that improperly assisted with a criminal investigation. The speculative and conclusory statements

to the contrary are not supported by any fact alleged in the Amended Answer.

       Second, even if the allegations of selective enforcement had merit (they do not), an

affirmative defense in an enforcement action is not the proper vehicle to litigate the claim. The

claim is one for affirmative relief, e.g., FSK Drug, 960 F.2d at 10, which cannot be asserted in

this lawsuit. 15 U.S.C. § 78u(g) (no other actions may be consolidated with an action for

equitable relief instituted by the Commission without the Commission’s consent).

       Third, Alpine cannot overcome the rule against equitable defenses with conduct that

occurred during this action, including the allegations that (a) the Commission alleged that Alpine

facilitated fraud in the Complaint filed in this action; (b) Alpine believes the Commission is

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 In fact, the Commission has filed other enforcement actions based on SARs under Section
17(a).
                                                 7
         Case 1:17-cv-04179-DLC Document 55 Filed 11/13/17 Page 8 of 12




seeking excessive penalties in this action; and (c) the Commission selected venue in this district

for this action. Even if these allegations were true (they are not),litigation misconduct does not

support equitable defense as a matter of law. Elecs. Warehouse, Inc., 689 F. Supp. at 73.

Moreover, these allegations do not describe improper conduct: (a) the allegations in the

Complaint of Alpine’s systemic failures and the fraud perpetrated by Alpine’s customers are not

gratuitous or made in bad faith (or even false)—they are relevant to show why Alpine will likely

continue to violate the law without injunctive relief and to show the amount of penalties that

should be assessed; (b) the Commission’s pursuit of penalties in an amount expressly permitted

by Congress cannot be wrongful; and (c) this Court already ruled that venue is proper in this

action and, in doing so, ruled that the Commission had a legitimate reason to file in this district.

Ex. A, Hearing Tr. at 16 (“Here, it is appropriate to grant the SEC’s choice of forum – that is, the

Southern District of New York – deference. It is not chosen for an improper purpose.”).

       Fourth, Alpine’s allegation of prejudice in the Nineteenth Defenses fails for the same

reason it failed to support the Sixteenth Defense: Alpine alleges no specific harm to its ability to

defend this action caused by the alleged wrongdoing. The best Alpine can do on this point is

recite the general pleading standard in the Amended Answer.

       Finally, Alpine has failed to allege elements necessary for unclean hands. To allege a

viable defense of unclean hands Alpine must allege that the Commission engaged in outrageous

or unconstitutional activity that caused Alpine to suffer prejudice rising to a constitutional level.

American Growth, 2016 WL 8314623, at *6; KPMG LLP, 2003 WL 21976733, at *2. As

described above, Alpine alleges only that the Commission has pursued remedies made available

by Congress in a venue made available by Congress and deemed appropriate by the Court.


                                                  8
         Case 1:17-cv-04179-DLC Document 55 Filed 11/13/17 Page 9 of 12




Alpine cannot save the defense with speculation based on “information and belief” that

“additional facts supporting this defense will be uncovered during discovery.” Am. Answer

at 22; see American Growth, 2016 WL 8314623, at *7 (“[I]n an enforcement action like this one,

a defendant’s pure speculation about potential prejudice is not enough to permit an equitable

defense against the SEC to go forward, even at the pleading stage.”).

       In short, no question of fact or law would allow the defenses asserted in the Sixteenth

Defense and Nineteenth Defense to succeed, and those defenses should be stricken. KPMG LLP,

2003 WL 21976733, at *2.

II.    INCLUSION OF ALPINE’S EQUITABLE DEFENSES WOULD CAUSE
       PREJUDICE AND DELAY.

       The equitable defenses contained in the Sixteenth and Nineteenth Defenses will cause the

type of prejudice and delay sufficient to satisfy Rule 12(f). KPMG LLP, 2003 WL 21976733, at

*2 (Defenses that are insufficient as a matter of law should be stricken to eliminate delay and

unnecessary expenses from litigating invalid claims.).

       The defenses will necessarily cause additional discovery. Without the defenses, discovery

will focus on Alpine’s records (to the extent necessary following the SEC’s motion for summary

judgment). The Commission’s conduct is not relevant. However, inclusion of the Sixteenth and

Nineteenth Defenses would expand discovery to encompass the Commission’s investigation and

conduct, and Alpine has indicated its intent to pursue that discovery by speculating in its Answer

that facts supporting its unclean hands defense will be uncovered during discovery. “This type of

discovery, which would force the SEC to give attention to matters collateral to its securities

claims against [Alpine], has been held sufficient to satisfy the Rule 12(f) requirement” that the

Commission show prejudice. American Growth, 2016 WL 8314623, at *7.

                                                 9
        Case 1:17-cv-04179-DLC Document 55 Filed 11/13/17 Page 10 of 12




       Moreover, the discovery implicated by Alpine’s allegations of wrongdoing will intrude

into the Commission’s investigative process and be fraught with disputes over privileged

communications and attorney work product. Alpine has already propounded numerous improper

interrogatories aimed at the Commission’s investigative process and material protected by the

work product doctrine, including demands for a recitation of Commission attorneys’ findings and

observations made during the investigation, all Commission attorneys and staff with knowledge

of interviews or discussions with interviewees during the investigation, and all written

memoranda reflecting witness interviews. None of this material is relevant to the adequacy of

Alpine’s records. Alpine has alleged no misconduct or injury that comes close to the kind

sufficient to warrant the delay and cost this type of discovery entails. Mechanisms exist to

address any (genuine) grievances Alpine has with the Commission’s conduct; but this

enforcement action is not one of them. American Growth, 2016 WL 8314623, at *5-6; cf. 15

U.S.C. § 78u(g).

III.   LEAVE TO AMEND SHOULD BE DENIED.

       Alpine should not be granted leave to amend the Amended Answer. Alpine already

attempted to do so after the Commission conferred with Alpine about its plan to file a motion to

strike equitable defenses asserted in the original answer. The allegations in the original answer

were deficient as are the allegations in the Amended Answer. There is no reason to believe that

Alpine has the ability to assert sufficient factual allegations if given a third opportunity.

                                          CONCLUSION

       For the reasons above, the Court should strike Alpine’s Sixteenth Defense and Nineteenth

Defense without leave to amend.

                                                  10
Case 1:17-cv-04179-DLC Document 55 Filed 11/13/17 Page 11 of 12




Respectfully submitted this 13th day of November, 2017.


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                                      11
       Case 1:17-cv-04179-DLC Document 55 Filed 11/13/17 Page 12 of 12




                             CERTIFICATE OF SERVICE

      I certify that on November 13, 2017, a copy of the foregoing document was served via

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                                            12
